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 8
                                         UNITED STATES DISTRICT COURT
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10                                 NORTHERN DISTRICT OF CALIFORNIA

11
      SUSAN FINGER,                                    ) Case No. 5:21-cv-04217
12                                                     )
                            Plaintiff,                 )
13                                                     )
                                                       ) NOTICE OF VOLUNTARY
14                    vs.                              ) DISMISSAL
                                                       )
15                                                     )
       COHERENT, INC., JAY T. FLATLEY,                 )
16     PAMELA FLETCHER, ANDREAS W.                     )
       MATTES, BEVERLY KAY MATTHEWS,                   )
17                                                     )
       MICHAEL R. MCMULLEN, GARRY W.                   )
18     ROGERSON, STEVE SKAGGS, and                     )
       SANDEEP VIJ,                                    )
19                                                     )
                                                       )
20                            Defendants.              )

21

22           PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

23 plaintiff Susan Finger (“Plaintiff”) voluntarily dismisses the claims in the captioned action (the

24 “Action”). Because this notice of dismissal is being filed with the Court before service by defendants

25
     of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the Action is effective
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     upon the filing of this notice.
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                                     NOTICE OF VOLUNTARY DISMISSAL
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     Dated: July 8, 2021                    WEISSLAW LLP
 1
                                            By: /s/ Joel E. Elkins
 2

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 9

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                           NOTICE OF VOLUNTARY DISMISSAL
